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07                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
08                                     AT SEATTLE

09 UNITED STATES OF AMERICA,              )
                                          )
10         Plaintiff,                     )
                                          )             Case No.: CR05-182-MJP
11         v.                             )
                                          )
12   DOLLY COOPER,                        )             DETENTION ORDER
                                          )
13         Defendant.                     )
     ____________________________________ )
14

15 Offense charged:

16          Conspiracy to defraud the United States in violation of 18 U.S.C. § 371(1) and uttering

17 counterfeited securities in violation of 18 U.S.C. § 541(a)(2).

18 Initial Appearance: May 11, 2005.

19 Date of Detention Hearing:      December 2, 2005.

20          On December 2, 2005, defendant appeared on an alleged violation of her conditions of

21 pretrial release. These alleged violations included that she not possess identity material of

22 persons other than herself, and that she appear at all required court appearances.

23          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

24 based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

25         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

26          (1)     On May 11, 2005, defendant was released on bond with pretrial supervision and

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01 special conditions.

02           (2)   At the time of her arrest for violation of conditions of bond, defendant appears

03 to have been in possession of a Washington State ID card in the name of another person.

04           (3)   Defendant was scheduled for a jury trial on October 17, 2005, and failed to

05 appear.

06           (4)   There appear to be no conditions or combination of conditions that will

07 reasonably assure the defendant’s appearance at future Court hearings and that will address the

08 danger to other persons or the community.

09           IT IS THEREFORE ORDERED:

10           (1)   Defendant shall be detained pending trial and committed to the custody of the

11                 Attorney General for confinement in a correction facility separate, to the extent

12                 practicable, from persons awaiting or serving sentences or being held in custody

13                 pending appeal;

14           (2)   Defendant shall be afforded reasonable opportunity for private consultation with

15                 counsel;

16           (3)   On order of a court of the United States or on request of an attorney for the

17                 government, the person in charge of the corrections facility in which defendant

18                 is confined shall deliver the defendant to a United States Marshal for the purpose

19                 of an appearance in connection with a court proceeding; and

20           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

21                 counsel for the defendant, to the United States Marshal, and to the United States

22                 Pretrial Services Officer.



                                                         A
23           DATED this 2nd day of December 2005.

24
                                                         JAMES P. DONOHUE
25                                                       United States Magistrate Judge
26

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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     DETENTION ORDER                                                        15.13
     18 U.S.C. § 3142(i)                                                 Rev. 1/91
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